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7 SUPERIOR COURT OF THE STATE OF WASHINGTON FOR KING COUNTY
8 | ANNETTE STOCK WELL and LAWRENCE
‘ g | STOCKWELL, husband and wife and the No. 20-2-09638-5
marital community comprised thereof,
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MPLA
Plaintiffs, COMPLAINT
11
12 vs.
13. | SAFEWAY, INC., a non-governmental
corporation d/b/a SAFEWAY STORE #792,
14 | ALBERTSONS COMPANIES, LLC, a foreign
15 | limited liability company, ALBERTSONS
COMPANIES, INC., a non-governmental
16 | corporation, CERBERUS CAPITAL
MANAGEMENT, LP, a non-governmental
17 | timited partnership, and DOES 1-5,
18 .
Defendants.
19
20 I. PARTIES
21 1. Plaintiffs Annette Stockwell and Lawrence Stockwell are husband and wife and
currently reside in Ocean Shores, Grays Harbor County, Washington.
23
2A 2. At all material times herein Defendant Safeway, Inc. owned and operated
25 | Safeway Store #792 located at 17023 SE 272™, Covington, King County, Washington. Said
26
27
28 COMPLAINT -- 1 LAW OFFICES OF JOHN J. POLITO, PLLC |
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defendant is believed to have paid all licenses and fees to date and continues to do business in
King County, Washington.

3. At all material times herein Defendant Albertsons Companies, Inc. owned and
operated Safeway Store #792 located at 17023 SE 272™, Covington, King County, Washington.
Said defendant is believed to have paid all licenses and fees to date and continues to do business
in King County, Washington.

4. At all material times herein Defendant Albertsons Companies, LLC owned and
operated Safeway Store #792 located at 17023 SE 272"4, Covington, King County, Washington.
Said defendant is believed to have paid all licenses and fees to date and continues to do business
in King County, Washington.

5. At all material times herein Defendant Cerberus Capital Management, LP owned
and operated Safeway Store #792 located at 17023 SE 272", Covington, King County,
Washington. Said defendant is believed to have paid all licenses and fees to date and continues
to do business in King County, Washington.

6. Parties Does 1 - 5 are unknown to Plaintiffs at this time and they are therefore
sued under fictitious names. These Defendants may have caused the damages to Plaintiffs by |
their own tortious conduct, including acts or failures to act in, whether individually, in concert
with other defendants or vicariously.

I. JURISDICTION AND VENUE

7. The acts and omissions giving rise to this cause of action occurred on the subject

premises, Safeway Store #792, located in Covington, King County, Washington where

Defendants conduct business.

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1 8. Jurisdiction and venue are proper in King County Superior Court.
2 Il. FACTS
° 9. On June 21, 2017, Plaintiff Annette Stockwell was shopping at the Safeway |
Store #792 in Covington, King County, Washington.
6 10. | While at the subject Safeway store, Plaintiff Annette Stockwell went into the
7 | cheese and dairy aisle and slipped and fell on yogurt that had spilled onto the floor.
8 11. At the time of the fall, defendants had prior actual and/or constructive notice of
9 the yogurt spill on the floor.
. 12. Plaintiff Annette Stockwell suffered significant injuries as a result of the fall.
12 IV. CLAIMS AND CAUSES OF ACTION
13 13. As an owner and occupier of the premises, Defendants owed to business invitees
14 | such as Plaintiff Annette Stockwell a non-delegable duty to exercise ordinary care for their
1 safety. This includes the exercise of ordinary care to maintain in a reasonably safe condition
. those portions of the premises that the invitee is expressly or impliedly invited to use or might
18 reasonably be expected to use.
19 14. Defendants were negligent and failed to exercise ordinary care in the creation,
20 operation and maintenance of its self-service store. The Defendants through its agents,

21 . .

employees or other persons had actual and/or constructive notice of the hazardous and unsafe
22
33 conditions common in the cheese and dairy section of the store.
4 15. Due to the self-service mode of operation at its grocery store, it was foreseeable
25 | to defendants that the cheese and dairy section of the store where this incident occurred would
26 | have hazardous items on its floor.
27
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| Plaintiffs were married and that the Plaintiffs continue to be married.

 

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16. Defendants failed to have adequate procedures in place to keep their premises
free from foreseeable hazardous conditions and failed to properly maintain a safe premises.

17. As a direct and proximate result of the negligence as described above, Plaintiff
Annette Stockwell suffered personal injuries and special and general damages in an amount to
be proven at trial.

18. At the time of the incident complained of in the plaintiffs' complaint, the

19. That as a result of the wrongful and negligent acts of the Defendants, and each of |
them, the Plaintiffs were caused to suffer, and will continue to suffer in the future, loss of
consortium, loss of society, affection, assistance, and conjugal fellowship, all to the detriment of
their marital relationship.

20. All of the foregoing allegations of fact and law are hereby alleged and asserted
against any unknown entity, hereby referred to as Defendants Does 1 - 5.

Vv. REQUEST FOR RELIEF

WHEREFORE, Plaintiffs pray, jointly and severally, for the following relief against
Defendants as follows:

1. For all reasonable and necessary past and future medica] expenses, pain and
suffering, disfigurement, emotional distress, wage loss, loss of earning capacity, loss of
enjoyment of life, loss of consortium, and other special and general damages in an amount to be

proven at trial;

2. For all costs and disbursements;
3. For reasonable and actual attorney’s fees;
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4, For pre-judgment and post-judgment interest; and
For such further and other relief as the Court deems just and equitable.

DATED this__7)_ day of June, 2020.

 
 
  

 

 

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